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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                       M ARSHALL DIVISION


 UNITED STATES OF AMERICA                           §
                                                    §
 V.                                                 §            CASE NO. 2:05CR3(1)
                                                    §
 ANTHONY JEROME WORTH                               §


               ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                         FINDING DEFENDANT GUILTY

         On this day, the Court considered the Findings of Fact and Recommendation of United States

 Magistrate Judge Caroline M. Craven regarding Defendants’ plea of guilty to Count 1 of an Indictment in

 violation of Title 21, USC, Section 846. Having conducted a proceeding in the form and manner prescribed

 by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the Court accept the guilty plea of the

 Defendant. All parties have waived objections to the Findings of Fact and Recommendation. The Court is

 of the opinion that the Findings of Fact and Recommendation should be accepted.

         It is accordingly ORDERED that the Findings of Fact and Recommendation of the United States

 Magistrate Judge, filed January 19, 2006, are hereby ADOPTED.

         It is further ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

 GUILTY of Count 1 of the Indictment in the above-numbered cause.

        SIGNED this 23rd day of January, 2006.



                                                __________________________________________
                                                T. JOHN WARD
                                                UNITED STATES DISTRICT JUDGE
